Case 2:22-cv-02687-DSF-JEM Document 13 Filed 07/20/22 Page 1 of 11 Page ID #:65



   1   Lawrence C. Ecoff, Esq. SBN 143814
       Alberto J. Campain, Esq. SBN 204068
   2   ECOFF CAMPAIN TILLES & KAY, LLP
       A Limited Liability Partnership
   3   280 South Beverly Drive, Suite 504
       Beverly Hills, California 90212
   4   Telephone: (310) 887-1850
       Facsimile: (310) 887-1855
   5   E-mail:      ecoff@ecofflaw.com
                    campain@ecofflaw.com
   6
       Attorneys for Defendants
   7   HARVEST KING TRADING USA, LIMITED,
       THOMAS JAU and PAK LAM
   8

   9                        UNITED STATES DISTRICT COURT
  10                      CENTRAL DISTRICT OF CALIFORNIA
  11

  12   COASTAL CORPORATION LTD.                   Case No. 2:22-CV-02687-DEF-JEM
  13                Plaintiff,                    ANSWER OF DEFENDANTS
              v.                                  THOMAS JAU AND PAK LAM TO
  14
       HARVEST KING TRADING USA,                  COMPLAINT; AFFIRMATIVE
  15   LIMITED, a California corporation,         DEFENSES
       THOMAS JAU, an individual aka TOM
  16   JAU; LAM LAM, an individual; PAK
       LAM, an individual; DOES 1 through DEMAND FOR JURY TRIAL
  17   10, inclusive,
  18                Defendants.
  19
  20         Defendants THOMAS LAU and PAK LAM (“Defendants”), appearing for
  21   themselves alone, and for no other defendant, files their Answer, Defenses, and
  22   Affirmative Defenses to Plaintiff COASTAL CORPORATION LTD.’s (“Plaintiff”)
  23   Complaint herein as follows:
  24                              NATURE OF THIS ACTION
  25         In answer to the initial paragraph of Plaintiff’s Complaint, which is
  26   unnumbered, Defendants admit that Plaintiff has filed this action for the claims
  27   asserted. Except as so admitted, Defendants lack sufficient information and belief to
  28   respond to the remaining allegations, and therefore deny same.
                                                 1
                                      ANSWER TO COMPLAINT
Case 2:22-cv-02687-DSF-JEM Document 13 Filed 07/20/22 Page 2 of 11 Page ID #:66



   1                               JURISDICTION AND VENUE
   2          1.     In answer to paragraph 1 of the Complaint, such paragraph states legal
   3   conclusions to which no response is required. Defendants, however, admit that
   4   Plaintiff has filed this lawsuit.
   5                                       THE PARTIES
   6          2.     In answer to paragraph 2 of the Complaint, Defendants lack sufficient
   7   information and belief within which to admit or deny the allegations set forth
   8   therein, and therefore deny same.
   9          3.     In answer to paragraph 3 of the Complaint, Defendants admit the
  10   allegations thereof.
  11          4.     In answer to paragraph 4 of the Complaint, Defendants admit the
  12   allegations thereof.
  13          5.     In answer to paragraph 5 of the Complaint, Defendants lack sufficient
  14   information or belief as to Defendant Lam, and is unaware as to who such individual
  15   is, and therefore deny the allegations thereof.
  16          6.     In answer to paragraph 6 of the Complaint, Defendants admit the
  17   allegations thereof.
  18          7.     In answer to paragraph 7 of the Complaint, Defendant deny the
  19   allegations thereof as it relates to Jau and Lam. Defendants admit the allegations as
  20   it relates to Pak.
  21          8.     In answer to paragraph 8 of the Complaint, such paragraph states legal
  22   conclusions to which no response is required.
  23          9.     In answer to paragraph 9 of the Complaint, such paragraph states legal
  24   conclusions to which no response is required. Nevertheless, Defendant deny the
  25   allegations thereof.
  26          10.    In answer to paragraph 10 of the Complaint, such paragraph states legal
  27   conclusions to which no response is required.
  28

                                                  2
                                      ANSWER TO COMPLAINT
Case 2:22-cv-02687-DSF-JEM Document 13 Filed 07/20/22 Page 3 of 11 Page ID #:67



   1                                JURISDICTION AND VENUE
   2         11.    In answer to paragraph 11 of the Complaint, Defendants admit that the
   3   Court has diversity jurisdiction over this matter, and that the amount in controversy
   4   exceeds $75,000.
   5         12.    In answer to paragraph 12 of the Complaint, Defendants admit that
   6   venue is proper in this judicial district.
   7                                  ALTER EGO LIABILITY
   8         13.    In answer to paragraph 13 of the Complaint, Defendants lack sufficient
   9   knowledge and information as to Plaintiffs information and belief, and therefore are
  10   unable to admit or deny such allegation. Nevertheless, Defendant deny the
  11   allegations thereof.
  12                (a)       In answer to paragraph 13a of the Complaint, Defendants lack
  13   sufficient knowledge and information as to Plaintiffs information and belief, and
  14   therefore are unable to admit or deny such allegation. Nevertheless, Defendant deny
  15   the allegations thereof.
  16                (b)       In answer to paragraph 13b of the Complaint, Defendants lack
  17   sufficient knowledge and information as to Plaintiffs information and belief, and
  18   therefore are unable to admit or deny such allegation. Nevertheless, Defendant deny
  19   the allegations thereof.
  20                (c)       In answer to paragraph 13c of the Complaint, Defendants lack
  21   sufficient knowledge and information as to Plaintiffs information and belief, and
  22   therefore are unable to admit or deny such allegation. Nevertheless, Defendant deny
  23   the allegations thereof.
  24                (d)       In answer to paragraph 13d of the Complaint, Defendants lack
  25   sufficient knowledge and information as to Plaintiffs information and belief, and
  26   therefore are unable to admit or deny such allegation. Nevertheless, Defendant deny
  27   the allegations thereof.
  28         14.    In answer to paragraph 14 of the Complaint, Defendant deny the
                                                    3
                                       ANSWER TO COMPLAINT
Case 2:22-cv-02687-DSF-JEM Document 13 Filed 07/20/22 Page 4 of 11 Page ID #:68



   1   allegations thereof.
   2                          FACTS COMMON TO ALL COUNTS
   3         15.    In answer to paragraph 15 of the Complaint, Defendants admit that
   4   Harvest King Trading USA, Limited (“Harvest King”) entered into agreements for
   5   the purchase of shrimp, but deny the allegations as set forth in the Complaint.
   6         16.    In answer to paragraph 16 of the Complaint, Defendants lack sufficient
   7   information and knowledge as to when the shipment arrived, or as represented.
   8   Further, Defendants deny that Harvest spoke directly with Coastal, as represented.
   9   Defendants lack sufficient knowledge and information as it relates to
  10   communications between Coastal and Seafood Doctor, and therefore are unable to
  11   admit or deny such allegation.
  12         17.    In answer to paragraph 17 of the Complaint, Defendant deny the
  13   allegations as set forth in the Complaint. Notwithstanding, the Complaint asserts
  14   that the allegations regarding the ‘First Shipment” are not at issue in the action.
  15         18.    In answer to paragraph 18 of the Complaint, Defendant deny the
  16   allegations as set forth in the Complaint. Defendant further deny that Harvest King
  17   was in anticipatory breach of any agreement. Defendants lack sufficient knowledge
  18   and information as it relates to communications between Coastal and Seafood
  19   Doctor, and therefore are unable to admit or deny such allegation.
  20         19.    In answer to paragraph 19 of the Complaint, Defendants lack
  21   knowledge and information as to the arrival of the “Second Shipment.” Defendant
  22   further deny that Harvest King lacked consent to pick-up its product. Defendants
  23   admit that payment has not be made, but deny that payment is due.
  24                               FIRST CAUSE OF ACTION
  25                                BREACH OF CONTRACT
  26         20.    In answer to paragraph 20 of the Complaint, paragraph 20 is an
  27   incorporation paragraph to which no response is required. Nevertheless, Defendants
  28   incorporate and reallege their responses to paragraphs 1 through 19 as if fully set
                                                  4
                                     ANSWER TO COMPLAINT
Case 2:22-cv-02687-DSF-JEM Document 13 Filed 07/20/22 Page 5 of 11 Page ID #:69



   1   forth herein.
   2         21.       In answer to paragraph 21 of the Complaint, Defendants deny the
   3   allegations thereof as asserted.
   4         22.       In answer to paragraph 22 of the Complaint, Defendants admit that
   5   Harvest King was to pay certain sums, based upon certain events and ordered
   6   deliveries. Defendants, deny, however, that payment is due as a result of certain
   7   breaches.
   8         23.       In answer to paragraph 23 of the Complaint, Defendants deny the
   9   allegations thereof.
  10         24.       In answer to paragraph 24 of the Complaint, Defendants deny the
  11   allegations thereof.
  12         25.       In answer to paragraph 25 of the Complaint, such paragraph states legal
  13   conclusions to which no response is required.
  14         26.       In answer to paragraph 26 of the Complaint, Defendants deny the
  15   allegations thereof.
  16                               SECOND CAUSE OF ACTION
  17                                  OPEN BOOK ACCOUNT
  18         27.       In answer to paragraph 27 of the Complaint, paragraph 27 is an
  19   incorporation paragraph to which no response is required. Nevertheless, Defendants
  20   incorporate and reallege their responses to paragraphs 1 through 26 as if fully set
  21   forth herein.
  22         28.       In answer to paragraph 28 of the Complaint, Defendants deny the
  23   allegations thereof.
  24         29.       In answer to paragraph 29 of the Complaint, Defendants deny the
  25   allegations thereof.
  26         30.       In answer to paragraph 30 of the Complaint, Defendants deny the
  27   allegations thereof.
  28

                                                   5
                                      ANSWER TO COMPLAINT
Case 2:22-cv-02687-DSF-JEM Document 13 Filed 07/20/22 Page 6 of 11 Page ID #:70



   1                                THIRD CAUSE OF ACTION
   2                                    ACCOUNT STATED
   3         31.       In answer to paragraph 31 of the Complaint, paragraph 31 is an
   4   incorporation paragraph to which no response is required. Nevertheless, Defendants
   5   incorporate and reallege their responses to paragraphs 1 through 30 as if fully set
   6   forth herein.
   7         32.       In answer to paragraph 32 of the Complaint, such paragraph states legal
   8   conclusions to which no response is required. Nevertheless, Defendants deny the
   9   allegations thereof.
  10         33.       In answer to paragraph 33 of the Complaint, Defendants deny the
  11   allegations thereof.
  12         34.       In answer to paragraph 34 of the Complaint, Defendants deny the
  13   allegations thereof.
  14                               FOURTH CAUSE OF ACTION
  15                     UNJUST ENRICHMENT – QUANTUM MERUIT
  16         35.       In answer to paragraph 35 of the Complaint, paragraph 35 is an
  17   incorporation paragraph to which no response is required. Nevertheless, Defendants
  18   incorporate and reallege their responses to paragraphs 1 through 34 as if fully set
  19   forth herein.
  20         36.       In answer to paragraph 36 of the Complaint, Defendants deny the
  21   allegations thereof.
  22         37.       In answer to paragraph 37 of the Complaint, Defendants deny the
  23   allegations thereof.
  24         38.       In answer to paragraph 38 of the Complaint, Defendants admit that
  25   Harvest King has not tendered payment to Plaintiff, but deny that any payment is
  26   due and owing.
  27         39.       In answer to paragraph 39 of the Complaint, such paragraph states legal
  28   conclusions to which no response is required. Nevertheless, Defendants deny the
                                                   6
                                      ANSWER TO COMPLAINT
Case 2:22-cv-02687-DSF-JEM Document 13 Filed 07/20/22 Page 7 of 11 Page ID #:71



   1   allegations thereof.
   2         40.       In answer to paragraph 40 of the Complaint, Defendants deny the
   3   allegations thereof.
   4                                FIFTH CAUSE OF ACTION
   5                                       CONVERSION
   6         41.       In answer to paragraph 41 of the Complaint, paragraph 41 is an
   7   incorporation paragraph to which no response is required. Nevertheless, Defendants
   8   incorporate and reallege their responses to paragraphs 1 through 40 as if fully set
   9   forth herein.
  10         42.       In answer to paragraph 42 of the Complaint, such paragraph states legal
  11   conclusions to which no response is required.
  12         43.       In answer to paragraph 43 of the Complaint, Defendants deny the
  13   allegations thereof.
  14         44.       In answer to paragraph 44 of the Complaint, Defendants deny the
  15   allegations thereof.
  16         45.       In answer to paragraph 45 of the Complaint, Defendants deny the
  17   allegations thereof.
  18         46.       In answer to paragraph 46 of the Complaint, such paragraph states legal
  19   conclusions to which no response is required. Defendants deny the allegations
  20   thereof.
  21         47.       In answer to paragraph 47 of the Complaint, Defendants deny the
  22   allegations thereof.
  23                                SIXTH CAUSE OF ACTION
  24                                 TRESPASS TO CHATTEL
  25         48.       In answer to paragraph 48 of the Complaint, paragraph 48 is an
  26   incorporation paragraph to which no response is required. Nevertheless, Defendants
  27   incorporate and reallege their responses to paragraphs 1 through 47 as if fully set
  28   forth herein.
                                                   7
                                      ANSWER TO COMPLAINT
Case 2:22-cv-02687-DSF-JEM Document 13 Filed 07/20/22 Page 8 of 11 Page ID #:72



   1          49.   In answer to paragraph 49 of the Complaint, Defendants deny the
   2   allegations thereof.
   3          50.   In answer to paragraph 50 of the Complaint, Defendants deny the
   4   allegations thereof.
   5          51.   In answer to paragraph 51 of the Complaint, Defendants deny the
   6   allegations thereof, and deny that it is the cause of Plaintiff’s damage in any amount,
   7   or at all.
   8          52.   In answer to paragraph 52 of the Complaint, Defendants deny the
   9   allegations thereof.
  10          53.   In answer to paragraph 53 of the Complaint, Defendants deny the
  11   allegations thereof, and deny that they are the cause of Plaintiff’s damage in any
  12   amount, or at all.
  13          54.   In answer to paragraph 54 of the Complaint, Defendants deny the
  14   allegations thereof.
  15                                  PRAYER FOR RELIEF
  16          Defendants den all allegations in the prayer in the Complaint, and deny that
  17   Plaintiff is entitled to the relief sought. Defendants respectfully request that this
  18   Court enter judgment against Plaintiff, and in favor of Defendants, dismiss this
  19   action with prejudice, deny Plaintiff's request for damages, and further deny such
  20   other relief as this Court deems just and proper.
  21                    DEFENSES AND AFFIRMATIVE DEFENSES
  22          Defendants state that they intend to rely upon and otherwise preserve the
  23   following Affirmative Defenses to Plaintiff's Complaint:
  24                           FIRST AFFIRMATIVE DEFENSE
  25                                 (Failure to State a Claim)
  26          1.    As a first, separate and distinct affirmative defense to the Complaint
  27   herein, and to each purported cause of action thereof, Defendants allege that the
  28   Complaint fails to state a claim upon which relief can be granted.
                                                   8
                                     ANSWER TO COMPLAINT
Case 2:22-cv-02687-DSF-JEM Document 13 Filed 07/20/22 Page 9 of 11 Page ID #:73



   1                          SECOND AFFIRMATIVE DEFENSE
   2                                   (Condition Precedent)
   3         2.     As a second, separate and distinct affirmative defense to the Complaint
   4   herein, Harvest King’s obligation, if any, was subject to a condition precedent to
   5   receive a certain amount of product from its contracting party, which it did not
   6   receive.
   7                           THIRD AFFIRMATIVE DEFENSE
   8                                   (Indispensable Party)
   9         3.     As a third, separate and distinct affirmative defense to the Complaint
  10   herein, Defendant asserts that Plaintiff has failed to include and sue an indispensable
  11   party, Kings Landing and/or Paul Morris.
  12                          FOURTH AFFIRMATIVE DEFENSE
  13                                            (Offset)
  14         4.     As a fourth, separate and distinct affirmative defense to the Complaint
  15   herein, Defendants assert that if any damages are owed, Plaintiff is entitled to an
  16   offset for damages and other relief to which it is entitled.
  17                           FIFTH AFFIRMATIVE DEFENSE
  18                                        (Unclean Hands)
  19         5.     As a fifth, separate and distinct affirmative defense to the Complaint
  20   herein, Defendants assert that Plaintiff has unclean hands in failing to fulfill the
  21   entirety of Harvest King’s order, or assure that the entirety of Harvest King’s order
  22   to such third party was fulfilled.
  23                           SIXTH AFFIRMATIVE DEFENSE
  24                                  (Fault of Third Parties)
  25         6.     As a sixth, separate and distinct affirmative defense to the Complaint
  26   herein, Plaintiff’s damages, if any, and none being admitted, were not caused by
  27   Defendants, but were caused by the acts, conduct or omissions of individuals or
  28   entities other than Defendants. Defendants are not responsible for these third parties
                                                   9
                                     ANSWER TO COMPLAINT
Case 2:22-cv-02687-DSF-JEM Document 13 Filed 07/20/22 Page 10 of 11 Page ID #:74



   1   and exercise no control and/or has no right to control their activities.
   2                         SEVENTH AFFIRMATIVE DEFENSE
   3                                     (Lack of Contract)
   4         7.     As a seventh, separate and distinct affirmative defense to the Complaint
   5   herein, Defendants asserts that they did not enter into any agreement with Plaintiff.
   6                          EIGHTH AFFIRMATIVE DEFENSE
   7                          (Reservation of Affirmative Defenses)
   8         8.     As an eighth, separate and distinct affirmative defense to the Complaint
   9   herein, Defendants have not yet completed discovery, and therefore reserve the right
  10   to assert additional affirmative defenses as discovery and investigation so justifies.
  11         WHEREFORE, having answered the Complaint and raised its defenses and
  12   affirmative defenses, Defendants respectfully request that this Court enter judgment
  13   against Plaintiff, and in favor of Defendants, dismiss this action with prejudice, deny
  14   Plaintiff's request for damages, and further deny such other relief as this Court
  15   deems just and proper.
  16

  17   Dated: July 20, 2022                        Respectfully Submitted,
  18                                               ECOFF CAMPAIN TILLES & KAY, LLP
  19
                                             By:         /s/ Lawrence C. Ecoff
  20                                               LAWRENCE C. ECOFF, ESQ.
  21                                               Attorneys for Defendants
                                                   HARVEST KING TRADING
  22                                               USA, LIMITED, THOMAS JAU
                                                   and PAK LAM
  23

  24

  25

  26
  27

  28

                                                   10
                                     ANSWER TO COMPLAINT
Case 2:22-cv-02687-DSF-JEM Document 13 Filed 07/20/22 Page 11 of 11 Page ID #:75



   1                            REQUEST FOR JURY TRIAL
   2         Defendants hereby request a trial by jury pursuant to the Federal Rules of
   3   Civil Procedure, and the Local Rules.
   4

   5
       Dated: July 20, 2022                    Respectfully Submitted,
   6
                                               ECOFF CAMPAIN TILLES & KAY, LLP
   7

   8                                     By:         /s/ Lawrence C. Ecoff
                                               LAWRENCE C. ECOFF, ESQ.
   9
                                               Attorneys for Defendants
  10                                           HARVEST KING TRADING
                                               USA, LIMITED, THOMAS JAU
  11                                           and PAK LAM
  12

  13

  14

  15

  16

  17

  18

  19
  20

  21

  22

  23

  24

  25

  26
  27

  28

                                                 11
                                   ANSWER TO COMPLAINT
